Case 1:10-cv-10478-DPW Document 1-3 Filed 03/22/10 Page 1 of 1

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

, David Hiltz et al v. The Hawk Eye Fishing Corp.

4. Title of case (name of first party on each side only

2. Category In which the case betongs based upon the numbered nature of suit code listed on the civil cover sheet. (See

local rule 40.1{a)(4)).

\, 160, 416, 470, R.23, REGARDLESS OF NATURE OF SUIT.

OO

fl. 195, 368, 400, 440, 441-444, 540, 550, 555, 625, 710, 720, 730, *Aiso complete AO 120 or AO 121
746, 798, 791, $20*, 830", 840*, B50, 690, 892-894, 895, 950. for patent, trademark or copyright cases

IN

TEE 110, 120, 130, 140, 151, 190, 210, 230, 240, 245, 290, 310,
3415, 320, 330, 340, 345, 350, 355, 360, 362, 365, 370, 371,
380, 385, 450, 891,

CI

220, 422, 423, 430, 460, $40, 530, 610, 620, 630, 640, 650, 660,
690, 810, 861-865, 870, 871, 875, 900.

Cl

Vv. 150, 752, 153.

3. Title and number, if any, of related cases. (See local rule 40.1(g)). if more than one prior related case has been filed in
this district please indicate the title and number of the first filed case in this court.

4, Has a prior action between the same parties and based on the same claim ever been filed in this court?
YES [| NO
5. Does the complaint in this case question the constitutionality of an act of congress affecting the public interest? (See
28 USC §2403)

ves L] no
ves |} wo [|

Hf so, is the U.S.A. or an officer, agent or employee of the U.S, a party?

6. Is this case required to be heard and determined by a district court of three judges pursuant to title 28 USC §22847
YES Cl] NO
7 Do all of the parties in this action, excluding governmental agencies of the united states and the Commonwealth of
Massachusetts (“governmental agencies”), residing in Massachusetts reside in the same division? - (See Local Rule
40.1(d}).
YES NO
A. If yes, in which division do_all of the non-governmental parties reside?
Eastern Division Central Division C] Western Division CI]
8. If no, in which divisien do the majority of the plaintiffs or the only parties, excluding governmental
agencies, residing In Massachusetts reside?
Eastern Division [| Central Division EC] Western Division []
8. if filing a Notice of Removal - are there any motions pending in the state court requiring the attention of this Court? (If

yes, submit a separate sheet identifying jhe motions}

YES CI NO

(PLEASE TYPE OR PRINT)

ATTORNEY'S NAME
30-31 Union Wharf, Boston, MA 02109

ADDRESS
TELEPHONE No, 617-523-1000

(Coversheetlocal.wpd ~ 40/47/02}
